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                                               Exhibit A
                                       Scheduled and Filed Claims

                                   Scheduled Claims                         Filed Claims
         Creditor           Schedule       Amount      C/U/D Claim No.     Amount          Classification
TWH Annuities & Insurance
                               F           $19,938.20 C/U/D
Agency Inc.

Totals                                    $19,938.20                           $0.00
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                                                                 Exhibit Filed
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                                                                Commission Payments

Debtor                               Ck. No.   Petition Date   Clear Date Name                                        Receipts         Disbursements

WOODBRIDGE GROUP OF COMPANIES, LLC   28491       12/04/17       11/29/17 TWH ANNUITIES & INSURANCE AGENCY INC                      $          1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   28444       12/04/17       11/09/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   28424       12/04/17       11/09/17 TWH ANNUITIES & INSURANCE AGENCY INC     $       468.75
WOODBRIDGE GROUP OF COMPANIES, LLC   28424       12/04/17       11/09/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 1,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   28425       12/04/17       11/09/17 TWH ANNUITIES & INSURANCE AGENCY INC           2,161.16
WOODBRIDGE GROUP OF COMPANIES, LLC   28425       12/04/17       11/09/17 TWH ANNUITIES & INSURANCE AGENCY INC             797.92
WOODBRIDGE GROUP OF COMPANIES, LLC   28425       12/04/17       11/09/17 TWH ANNUITIES & INSURANCE AGENCY INC             666.66
WOODBRIDGE GROUP OF COMPANIES, LLC   28425       12/04/17       11/09/17 TWH ANNUITIES & INSURANCE AGENCY INC             225.00
WOODBRIDGE GROUP OF COMPANIES, LLC   28425       12/04/17       11/09/17 TWH ANNUITIES & INSURANCE AGENCY INC                                7,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   28376       12/04/17       11/03/17 TWH ANNUITIES & INSURANCE AGENCY INC                               16,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27898       12/04/17       11/02/17 TWH ANNUITIES & INSURANCE AGENCY INC                                3,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27647       12/04/17       10/18/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,040.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27537       12/04/17       10/18/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27482       12/04/17       10/18/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27483       12/04/17       10/18/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27363       12/04/17       10/10/17 TWH ANNUITIES & INSURANCE AGENCY INC                                4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27364       12/04/17       10/10/17 TWH ANNUITIES & INSURANCE AGENCY INC                                2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27365       12/04/17       10/10/17 TWH ANNUITIES & INSURANCE AGENCY INC                                2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27366       12/04/17       10/10/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27367       12/04/17       10/10/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,988.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27368       12/04/17       10/10/17 TWH ANNUITIES & INSURANCE AGENCY INC                                2,920.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27083       12/04/17       10/04/17 TWH ANNUITIES & INSURANCE AGENCY INC                                8,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27084       12/04/17       10/04/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27085       12/04/17       10/18/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27086       12/04/17       10/18/17 TWH ANNUITIES & INSURANCE AGENCY INC                                3,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   27087       12/04/17       10/18/17 TWH ANNUITIES & INSURANCE AGENCY INC                                4,420.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26939       12/04/17       10/03/17 TWH ANNUITIES & INSURANCE AGENCY INC             937.50
WOODBRIDGE GROUP OF COMPANIES, LLC   26939       12/04/17       10/03/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26940       12/04/17       10/03/17 TWH ANNUITIES & INSURANCE AGENCY INC           1,968.75
WOODBRIDGE GROUP OF COMPANIES, LLC   26940       12/04/17       10/03/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 3,750.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26813       12/04/17       10/03/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 6,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26830       12/04/17       09/27/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 4,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26830       12/04/17       09/27/17 TWH ANNUITIES & INSURANCE AGENCY INC           4,666.67
WOODBRIDGE GROUP OF COMPANIES, LLC   26830       12/04/17       09/27/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26458       12/04/17       09/22/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 1,980.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26343       12/04/17       09/22/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 8,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26385       12/04/17       09/22/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26269       12/04/17       09/19/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 4,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26194       12/04/17       09/19/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26124       12/04/17       09/19/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 1,880.00
WOODBRIDGE GROUP OF COMPANIES, LLC   26125       12/04/17       09/19/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25907       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC             750.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25907       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25908       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC             750.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25908       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25943       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC                                   400.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25830       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC             833.33
WOODBRIDGE GROUP OF COMPANIES, LLC   25830       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC                                 1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25831       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC             562.50
WOODBRIDGE GROUP OF COMPANIES, LLC   25831       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,125.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25870       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,192.50
WOODBRIDGE GROUP OF COMPANIES, LLC   25813       12/04/17       09/06/17 TWH ANNUITIES & INSURANCE AGENCY INC                                1,000.00
                                                               TOTALS - 90 DAY                                         14,788.24           118,245.50

                                                               NET DISBURSEMENTS - 90 DAY                                                  103,457.26

WOODBRIDGE GROUP OF COMPANIES, LLC   25671       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC         2,100.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25671       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                               2,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25672       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC           900.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25672       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                               1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25620       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                               2,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25546       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                               1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25581       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                               1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25582       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                               4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25583       12/04/17       08/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                               2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25423       12/04/17       08/28/17   TWH ANNUITIES & INSURANCE AGENCY INC                               1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25215       12/04/17       08/28/17   TWH ANNUITIES & INSURANCE AGENCY INC         1,066.67
WOODBRIDGE GROUP OF COMPANIES, LLC   25215       12/04/17       08/28/17   TWH ANNUITIES & INSURANCE AGENCY INC                               1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25233       12/04/17       08/28/17   TWH ANNUITIES & INSURANCE AGENCY INC                               3,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25234       12/04/17       08/28/17   TWH ANNUITIES & INSURANCE AGENCY INC                               2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25126       12/04/17       08/17/17   TWH ANNUITIES & INSURANCE AGENCY INC         3,990.00
WOODBRIDGE GROUP OF COMPANIES, LLC   25126       12/04/17       08/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                             11,970.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24893       12/04/17       08/17/17   TWH ANNUITIES & INSURANCE AGENCY INC           333.33
WOODBRIDGE GROUP OF COMPANIES, LLC   24893       12/04/17       08/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                               1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24894       12/04/17       08/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                               6,750.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24916       12/04/17       08/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                               2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24919       12/04/17       08/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                               1,200.00
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                                                               Commission Payments

Debtor                               Ck. No.   Petition Date   Clear Date Name                                   Receipts     Disbursements

WOODBRIDGE GROUP OF COMPANIES, LLC   24763       12/04/17      08/15/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24764       12/04/17      08/15/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24765       12/04/17      08/15/17   TWH ANNUITIES & INSURANCE AGENCY INC                       4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24790       12/04/17      08/15/17   TWH ANNUITIES & INSURANCE AGENCY INC                       3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24696       12/04/17      08/15/17   TWH ANNUITIES & INSURANCE AGENCY INC     1,125.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24696       12/04/17      08/15/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24471       12/04/17      08/10/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24472       12/04/17      08/10/17   TWH ANNUITIES & INSURANCE AGENCY INC                       8,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24487       12/04/17      08/10/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24354       12/04/17      08/10/17   TWH ANNUITIES & INSURANCE AGENCY INC                       3,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24355       12/04/17      08/10/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24356       12/04/17      08/10/17   TWH ANNUITIES & INSURANCE AGENCY INC                       4,152.68
WOODBRIDGE GROUP OF COMPANIES, LLC   24379       12/04/17      08/10/17   TWH ANNUITIES & INSURANCE AGENCY INC                       8,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24137       12/04/17      08/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,088.00
WOODBRIDGE GROUP OF COMPANIES, LLC   24138       12/04/17      08/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23933       12/04/17      08/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23694       12/04/17      07/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23695       12/04/17      07/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23696       12/04/17      07/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23697       12/04/17      07/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23698       12/04/17      07/25/17   TWH ANNUITIES & INSURANCE AGENCY INC     2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23698       12/04/17      07/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23474       12/04/17      07/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23356       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23384       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       3,460.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23385       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       3,080.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23386       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,976.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23387       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,160.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23388       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,300.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23389       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,040.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23390       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23391       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23392       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,360.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23393       12/04/17      07/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,640.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23230       12/04/17      07/13/17   TWH ANNUITIES & INSURANCE AGENCY INC                       6,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23082       12/04/17      07/07/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23083       12/04/17      07/07/17   TWH ANNUITIES & INSURANCE AGENCY INC                       3,320.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23053       12/04/17      07/11/17   TWH ANNUITIES & INSURANCE AGENCY INC                       6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23054       12/04/17      07/11/17   TWH ANNUITIES & INSURANCE AGENCY INC                       4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23055       12/04/17      07/11/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   23056       12/04/17      07/11/17   TWH ANNUITIES & INSURANCE AGENCY INC                       3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22950       12/04/17      07/10/17   TWH ANNUITIES & INSURANCE AGENCY INC                       4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22817       12/04/17      07/07/17   TWH ANNUITIES & INSURANCE AGENCY INC                       3,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22818       12/04/17      07/07/17   TWH ANNUITIES & INSURANCE AGENCY INC                       6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22819       12/04/17      07/07/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22820       12/04/17      07/07/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22821       12/04/17      07/07/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22680       12/04/17      06/29/17   TWH ANNUITIES & INSURANCE AGENCY INC     4,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22680       12/04/17      06/29/17   TWH ANNUITIES & INSURANCE AGENCY INC                     10,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22545       12/04/17      06/29/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,880.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22546       12/04/17      06/22/17   TWH ANNUITIES & INSURANCE AGENCY INC                      4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22547       12/04/17      06/22/17   TWH ANNUITIES & INSURANCE AGENCY INC                     40,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22548       12/04/17      06/22/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22549       12/04/17      06/29/17   TWH ANNUITIES & INSURANCE AGENCY INC                      3,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22424       12/04/17      06/22/17   TWH ANNUITIES & INSURANCE AGENCY INC                      3,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22425       12/04/17      06/22/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,100.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22426       12/04/17      06/22/17   TWH ANNUITIES & INSURANCE AGENCY INC                      4,720.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22427       12/04/17      06/22/17   TWH ANNUITIES & INSURANCE AGENCY INC                      4,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   22080       12/04/17      06/22/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,102.50
WOODBRIDGE GROUP OF COMPANIES, LLC   21953       12/04/17      06/12/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21811       12/04/17      06/08/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,200.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21812       12/04/17      06/08/17   TWH ANNUITIES & INSURANCE AGENCY INC                      3,557.80
WOODBRIDGE GROUP OF COMPANIES, LLC   21717       12/04/17      06/08/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21718       12/04/17      06/08/17   TWH ANNUITIES & INSURANCE AGENCY INC                     13,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21615       12/04/17      05/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21616       12/04/17      05/31/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21489       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21446       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21447       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                      6,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21448       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21356       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC     1,422.81
WOODBRIDGE GROUP OF COMPANIES, LLC   21356       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21357       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       3,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21358       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21359       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       2,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21362       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21149       12/04/17      05/26/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21152       12/04/17      05/26/17   TWH ANNUITIES & INSURANCE AGENCY INC                       1,200.00
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                                                               Commission Payments

Debtor                               Ck. No.   Petition Date   Clear Date Name                                   Receipts     Disbursements

WOODBRIDGE GROUP OF COMPANIES, LLC   21201       12/04/17      05/25/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21083       12/04/17      05/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21060       12/04/17      05/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                     13,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21061       12/04/17      05/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                     17,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21062       12/04/17      05/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,920.00
WOODBRIDGE GROUP OF COMPANIES, LLC   21063       12/04/17      05/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,325.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20951       12/04/17      05/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20952       12/04/17      05/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20847       12/04/17      05/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20911       12/04/17      05/17/17   TWH ANNUITIES & INSURANCE AGENCY INC       500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20911       12/04/17      05/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20816       12/04/17      05/17/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20777       12/04/17      05/11/17   TWH ANNUITIES & INSURANCE AGENCY INC                        910.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20635       12/04/17      05/04/17   TWH ANNUITIES & INSURANCE AGENCY INC                      4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20614       12/04/17      05/04/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20534       12/04/17      05/02/17   TWH ANNUITIES & INSURANCE AGENCY INC                      3,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20535       12/04/17      05/02/17   TWH ANNUITIES & INSURANCE AGENCY INC                      6,040.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20536       12/04/17      05/02/17   TWH ANNUITIES & INSURANCE AGENCY INC                      8,960.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20537       12/04/17      05/02/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,548.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20538       12/04/17      05/02/17   TWH ANNUITIES & INSURANCE AGENCY INC                      5,840.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20539       12/04/17      05/02/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,160.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20432       12/04/17      05/02/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20309       12/04/17      04/27/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20310       12/04/17      04/27/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20245       12/04/17      04/27/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20246       12/04/17      04/27/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,925.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20247       12/04/17      04/27/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   20248       12/04/17      04/27/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   19792       12/04/17      04/12/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   19615       12/04/17      04/03/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   19616       12/04/17      04/03/17   TWH ANNUITIES & INSURANCE AGENCY INC                      8,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   19589       12/04/17      04/03/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   19392       12/04/17      03/29/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   19393       12/04/17      03/29/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,125.00
WOODBRIDGE GROUP OF COMPANIES, LLC   19107       12/04/17      03/29/17   TWH ANNUITIES & INSURANCE AGENCY INC                      3,375.00
WOODBRIDGE GROUP OF COMPANIES, LLC   19108       12/04/17      03/29/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   18938       12/04/17      03/15/17   TWH ANNUITIES & INSURANCE AGENCY INC                      7,845.66
WOODBRIDGE GROUP OF COMPANIES, LLC   18784       12/04/17      03/21/17   TWH ANNUITIES & INSURANCE AGENCY INC                        700.00
WOODBRIDGE GROUP OF COMPANIES, LLC   18784       12/04/17      03/21/17   TWH ANNUITIES & INSURANCE AGENCY INC                         62.50
WOODBRIDGE GROUP OF COMPANIES, LLC   18638       12/04/17      03/06/17   TWH ANNUITIES & INSURANCE AGENCY INC                      9,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   18639       12/04/17      03/06/17   TWH ANNUITIES & INSURANCE AGENCY INC                      6,483.47
WOODBRIDGE GROUP OF COMPANIES, LLC   18640       12/04/17      03/06/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,679.24
WOODBRIDGE GROUP OF COMPANIES, LLC   18046       12/04/17      03/06/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   17824       12/04/17      02/14/17   TWH ANNUITIES & INSURANCE AGENCY INC                      4,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   17640       12/04/17      02/14/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,125.00
WOODBRIDGE GROUP OF COMPANIES, LLC   17352       12/04/17      02/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,125.00
WOODBRIDGE GROUP OF COMPANIES, LLC   17353       12/04/17      02/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,350.00
WOODBRIDGE GROUP OF COMPANIES, LLC   17354       12/04/17      02/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                      5,373.68
WOODBRIDGE GROUP OF COMPANIES, LLC   16964       12/04/17      02/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                      9,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16889       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      6,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16792       12/04/17      02/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,350.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16793       12/04/17      02/01/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16595       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16596       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      4,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16597       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16598       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      4,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16599       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                        500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16600       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,439.10
WOODBRIDGE GROUP OF COMPANIES, LLC   16601       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16602       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16603       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      1,600.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16604       12/04/17      01/23/17   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16367       12/04/17      12/29/16   TWH ANNUITIES & INSURANCE AGENCY INC                      1,800.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16368       12/04/17      12/29/16   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16369       12/04/17      12/29/16   TWH ANNUITIES & INSURANCE AGENCY INC                      1,125.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16370       12/04/17      12/29/16   TWH ANNUITIES & INSURANCE AGENCY INC                      4,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16371       12/04/17      12/29/16   TWH ANNUITIES & INSURANCE AGENCY INC                      5,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16372       12/04/17      12/29/16   TWH ANNUITIES & INSURANCE AGENCY INC                     11,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16376       12/04/17      12/29/16   TWH ANNUITIES & INSURANCE AGENCY INC                      1,125.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16278       12/04/17      12/29/16   TWH ANNUITIES & INSURANCE AGENCY INC                      4,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16074       12/04/17      12/20/16   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16075       12/04/17      12/20/16   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16076       12/04/17      12/20/16   TWH ANNUITIES & INSURANCE AGENCY INC                      5,175.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16077       12/04/17      12/20/16   TWH ANNUITIES & INSURANCE AGENCY INC                      1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   16017       12/04/17      12/20/16   TWH ANNUITIES & INSURANCE AGENCY INC                      4,500.00
WOODBRIDGE GROUP OF COMPANIES, LLC   15888       12/04/17      12/20/16   TWH ANNUITIES & INSURANCE AGENCY INC                      2,250.00
WOODBRIDGE GROUP OF COMPANIES, LLC   15747       12/04/17      12/20/16   TWH ANNUITIES & INSURANCE AGENCY INC                      1,125.00
WOODBRIDGE GROUP OF COMPANIES, LLC   15426       12/04/17      12/12/16   TWH ANNUITIES & INSURANCE AGENCY INC                      2,000.00
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                                                                 Exhibit B
                                                                          Filed 12/01/19            Page 5 of 6
                                                               Commission Payments

Debtor                               Ck. No.   Petition Date   Clear Date Name                                      Receipts         Disbursements

WOODBRIDGE GROUP OF COMPANIES, LLC   15156       12/04/17       11/29/16 TWH ANNUITIES & INSURANCE AGENCY INC                              1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC   14146       12/04/17       10/28/16 TWH ANNUITIES & INSURANCE AGENCY INC                              1,000.00
WOODBRIDGE GROUP OF COMPANIES, LLC    9791       12/04/17       09/27/16 TWH ANNUITIES & INSURANCE AGENCY INC                              1,400.00
WOODBRIDGE GROUP OF COMPANIES, LLC    9461       12/04/17       09/08/16 TWH ANNUITIES & INSURANCE AGENCY INC                              1,000.00
                                                               TOTALS - 2 YEAR (INCL. 90 DAY)                   $    32,976.05   $       663,314.13

                                                               NET DISBURSEMENTS - 2 YEAR (INCL. 90 DAY)                         $       630,338.08
                Case 19-51042-BLS            Doc 1-1       Filed 12/01/19          Page 6 of 6
                                                     Exhibit C
                                     Schedule of Claims Contributed by Investors
                    Broker(s): TWH Annuities & Insurance Agency Inc. / Gryphon Financial Services

                                                            Outstanding Investor                   Net/Allowed
                                                              Principal Amounts                  Claim Amounts
Investor Name                                              Class 3         Class 5           Class 3         Class 5

DAVE & VICKIE CANDEL                                   $    50,000.00   $            -   $    47,709.71   $            -
DORIS G HAUGHT & BRENDA C LAROCCO                           75,000.00                -        71,104.17                -
IRA SVCS TR CO-CFBO DIANE M VARNER IRA                      86,500.00                -        83,859.36                -
IRA SVCS TR CO-CFBO DUANE E SIPES                           77,000.00                -        74,888.90                -
IRA SVCS TR CO-CFBO JOYCE MENTZER IRA                      144,077.04                -       137,143.34                -
IRA SVCS TR CO-CFBO LARRY L MILLER IRA                      85,000.00                -        82,272.93                -
IRA SVCS TR CO-CFBO LINDA DENKOVICH IRA                    171,000.00                -       164,542.49                -
IRA SVCS TR CO-CFBO REBECCA D SHULTZ IRA                   143,000.00                -       138,609.86                -
IRA SVCS TR CO-CFBO SUZANNE G SIPES                         75,000.00                -        72,943.75                -
JOHN L MARCOUX                                             100,000.00                -        95,937.50                -
LOIS C SHANK                                                53,000.00                -        52,337.23                -
MAINSTAR-FBO CHARLES S HARRIS                              399,000.00                -       375,326.00                -
MAINSTAR-FBO DAVID FAULTERSACK                              59,538.68                -        57,046.33                -
MARGARET A BLY                                             200,000.00                -       197,738.88                -
PATSY RAE VELTING                                          100,000.00                -        95,323.62                -
SHEILA LEE-CARR                                             40,000.00                -        37,895.78                -
                     Totals                            $ 1,858,115.72   $            -   $ 1,784,679.85   $            -
